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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

CANYON FURNITURE COMPANY                             §
    PLAINTIFF,                                       §
                                                     § CIVIL ACTION NO. 5:18-cv-00753-OG
v.                                                   §
                                                     §
DANIEL RUEDA SANCHEZ, JULIO                          §
ALFONSO RODRIGUEZ VALDEZ,                            §
FURNITURE INDUSTRIES SERVICES,                       §
INC., & DISENOS INNOVADORES DE                       § DEMAND FOR JURY TRIAL
BAJA CALIFORNIA, S. de R.L. de C.V.                  §
       DEFENDANTS.                                   §

                    DEFENDANTS’ OPPOSED MOTION TO DISMISS
                      FOR LACK OF PERSONAL JURISDICTION

I.     INTRODUCTION

       Plaintiff Canyon Furniture Company (“Canyon”) filed suit against Defendants Daniel

Rueda Sanchez (“Rueda”), Julio Alfonso Rodriguez Valdez (“Rodriguez”), Furniture Industries

Services, Inc. (“FIS”), and Disenos Innovadores de Baja California, S. de R.L. de C.V.

(“Disenos”), in Bexar County, Texas district court on July 10, 2018. See Dkt. 1-5 at 2. On July 20,

2018, Defendants filed their notice of removal and removed this case to federal court. See Dkt. 1.

However, this case does not belong before this Court, or before any court in the State of Texas.

This is a classic case of forum shopping for favorable law. Three of the four Defendants in this

case have no connection to Texas at all and the one Defendant has tenuous connections to Texas

at best. Further, none of the events giving rise to Plaintiff’s claims took place in Texas, nor do

Defendants or Plaintiff reside in Texas. Plaintiff chose Texas simply because Texas law is more

favorable to Plaintiff than the law in California or Mexico, where this case belongs and should

have been filed. Accordingly, Defendants respectfully request the Court dismiss Plaintiff’s claims

for lack of personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2). It would appear

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that Canyon is not the proper Plaintiff in this case. All of the information that Defendants would

have received was at was located at Montecitos Manufacturing S. De R.L. De C.V. in Tijuana,

Mexico where Plaintiff manufactured its beds. It would appear that the real party in interest was

Montecitos. Defendants never worked for Plaintiff as misrepresented by Plaintiff.

II.    APPLICABLE LAW

       The Due Process Clause protects an individual’s liberty interest in not being subject to the

binding judgment of a forum with which he has established no meaningful ‘contacts, ties, or

relations.’” Burger King Corp. v. Redzewicz, 471 U.S. 462, 471–72 (1985) (quoting International

Shoe Co. v. Washington, 326 U.S. 310, 319 (1945)). “Personal jurisdiction must exist for each

claim asserted against [each] defendant.” Matassarin v. Grosvenor, No. SA-12-CA-913-RP, 2015

WL 12734756, *7 (W.D. Tex. May 15, 2015) (quoting Rolls-Royce Corp. v. Heros, Inc., 576 F.

Supp. 2d 765, 772 (N.D. Tex. 2008)).

       There are two types of personal jurisdiction: general and specific. General jurisdiction

exists where a defendant’s contacts with the forum “are sufficiently systematic and continuous as

to support a reasonable exercise of jurisdiction.” Stuart v. Spademan, 772 F.2d 1185, 1191 (5th

Cir. 1985). In contrast, specific jurisdiction exists where the plaintiff’s claims “aris[e] out of or

[are] related to the defendant’s contacts with the forum.” Seiferth v. Helicopteros Atuneros, Inc.,

472 F.3d 266, 271 (5th Cir. 2006) (quoting Helicopteros Nacionales, 466 U.S. at 414 n.8).

       “Where the plaintiff alleges specific jurisdiction . . . due process requires (1) minimum

contacts by the defendant purposely directed at the forum state, (2) a nexus between the

defendant’s contacts and the plaintiff’s claims, and (3) that the exercise of jurisdiction over the

defendant be fair and reasonable.” ITL Int’l, Inc. v. Constenla, S.A., 669 F.3d 493, 498 (5th Cir.

2012) (citing McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009)). For purposes of specific



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jurisdiction, the due-process test of foreseeability is whether “the defendant’s conduct and

connection with the forum State are such that he should reasonably anticipate being haled into

court there.” Stuart v. Spademan, 772 F.2d 1185, 1191 (5th Cir. 1985) (internal quotation marks

omitted) (quoting World-Wide Volkswagen v. Woodson, 444 U.S. 286, 297 (1980)).

       “When a nonresident defendant presents a motion to dismiss for lack of personal

jurisdiction, the plaintiff bears the burden of establishing the district court’s jurisdiction over the

nonresident.” Stuart v. Spademan, 772 F.2d 1185, 1192 (5th Cir. 1985).

III.   ARGUMENT

       In order for the Court to hear Plaintiff’s claims, personal jurisdiction must exist for each

claim asserted against each Defendant. See Matassarin v. Grosvenor, No. SA-12-CA-913-RP,

2015 WL 12734756, *7 (W.D. Tex. May 15, 2015) (quoting Rolls-Royce Corp. v. Heros, Inc., 576

F. Supp. 2d 765, 772 (N.D. Tex. 2008)). There are two types of personal jurisdiction: general

jurisdiction and specific jurisdiction. “When a state exercises personal jurisdiction over a

defendant in a suit not arising out of or related to the defendant’s contacts with the forum, the state

has been said to be exercising ‘general jurisdiction’ over the defendant.” Helicopteros Nacionales

De Colombia v. Hall, 466 U.S. 408, 414 n.9 (1984). General jurisdiction exists where a defendant’s

contacts with the forum “are sufficiently systematic and continuous as to support a reasonable

exercise of jurisdiction.” Stuart v. Spademan, 772 F.2d 1185, 1191 (5th Cir. 1985). In contrast,

specific jurisdiction exists where the plaintiff’s claims “aris[e] out of or [are] related to the

defendant’s contacts with the forum.” Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d 266, 271

(5th Cir. 2006) (quoting Helicopteros Nacionales, 466 U.S. at 414 n.8). The Court lacks both

general and specific personal jurisdiction over Defendants in this case.

       A.      The Court Lacks General Personal Jurisdiction Over Corporate Defendants



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       For a corporation, general jurisdiction exists where “the corporation is fairly regarded as at

home.” Daimler AG v. Bauman, 571 U.S. 117, 137 (2014) (quoting Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011)). Generally, “the place of incorporation and

principal place of business are ‘paradig[m] . . . bases for general jurisdiction’” with respect to

corporations. Id. (alterations in original) (quoting Brilmayer et al., A General Look at General

Jurisdiction, 66 TEX. L. REV. 721, 735 (1988)). Neither FIS nor Disenos is incorporated in the

State of Texas. See Ex. A at ¶¶16–17. FIS is incorporated in the State of California and Disenos is

incorporated in Mexico. See id. Similarly, neither FIS nor Disenos has its principal place of

business in Texas. FIS’s principal place of business is 6051 Business Center Ct. 4-273, San Diego,

California 92154. See id. at ¶16. Disenos, as Plaintiff’s complaint admits, has its principal place

of business in Tijuana, Mexico. See Dkt. 1-5 at 5 ¶10 (“[Disenos] is a Mexican corporation located

at Av. Roberto de La Madrid 1500-B Tijuana Baja California Norte 22170, with its principal place

of business in Tijuana, Baja California, Mexico.”); See Ex. A at ¶17.

       Disenos has no contact with Texas whatsoever. See id. at 5. Further, FIS’s only contact

with Texas is the limited sale of furniture to Bob Mills Furniture, an Oklahoma company. See id.

Bob Mills Furniture was not involved in the claims of Plaintiff and has no knowledge of Plaintiff’s

claims that occurred long before Bob Mills Furniture purchased the beds. These contacts are

insufficient to subject either FIS or Disenos to general personal jurisdiction in Texas. The principal

inquiry when determining whether general jurisdiction over a corporation exists “is whether that

corporation’s ‘affiliations with the State are so “continuous and systematic” as to render [it] at

home in the forum State.’” Daimler AG v. Bauman, 571 U.S. 117, 139 (2014) (alterations in

original) (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)).

Here, neither FIS’s nor Disenos’s contacts are so continuous and systematic as to render them at



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home in Texas. FIS is at home in California and Disenos is at home in Mexico. Accordingly, the

Court lacks general personal jurisdiction over both FIS and Disenos. See id.

       B.      The Court Lacks General Personal Jurisdiction Over Individual Defendants

       The Court also lacks general jurisdiction over Defendants Rueda and Rodriguez. “[O]nly

a limited set of affiliations with a forum will render a defendant amenable to all-purpose

jurisdiction there. ‘For an individual, the paradigm forum for the exercise of general jurisdiction

is the individual’s domicile.’” Daimler AG v. Bauman, 571 U.S. 117, 137 (2014) (quoting

Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011)). The term

“domicile” has been defined as “[a] residence at a particular place accompanied with positive or

presumptive proof of an intention to remain there for an unlimited time.” Freeman v. Northwest

Acceptance Corp., 754 F.2d 553, 555 (5th Cir. 1985) (quoting Mitchell v. United States, 88 U.S.

350, 352 (1874)).

       As Plaintiff’s complaint admits, Sanchez is “an individual citizen and resident of

California” and Rodriguez is “an individual and resident of Tijuana, Baja California, Mexico.”

Dkt. 1-5 at 4 ¶¶7–8; See Ex. A at ¶¶14–15. Therefore, Rueda and Rodriguez are domiciled in

California and Tijuana, Baja California, Mexico respectively. See Freeman, 754 F.2d at 555.

Furthermore, neither Rueda nor Rodriguez have any personal contacts with Texas at all.

Accordingly, the Court lacks general personal jurisdiction over Defendants Rueda and Rodriguez.

       C.      The Court Lacks Specific Personal Jurisdiction Over Defendants

       In contrast to general jurisdiction, specific jurisdiction “depends on an ‘affiliatio[n]

between the forum and the underlying controversy,’ principally, activity or an occurrence that

takes place in the forum State and is therefore subject to the State’s regulation.” Goodyear Dunlop

Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011) (quoting von Mehren & Trautman,



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Jurisdiction to Adjudicate: A suggested Analysis, 79 HARV. L. REV. 1121, 1136 (1966)). “Where

the plaintiff alleges specific jurisdiction . . . due process requires (1) minimum contacts by the

defendant purposely directed at the forum state, (2) a nexus between the defendant’s contacts and

the plaintiff’s claims, and (3) that the exercise of jurisdiction over the defendant be fair and

reasonable.” ITL Int’l, Inc. v. Constenla, S.A., 669 F.3d 493, 498 (5th Cir. 2012) (citing McFadin

v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009)). Plaintiff has failed to establish any of these three

requirements as to all Defendants.

               i.     Defendants’ have not established minimum contacts with Texas

       Defendants do not have sufficient minimum contacts with Texas to create specific

jurisdiction in Texas. Defendants Rueda, Rodriguez, and Disenos have no direct contact with

Texas at all. Thus, Defendants Rueda, Rodriguez, and Disenos have clearly not established

minimum contacts with Texas. See Constenla, S.A., 669 F.3d at 498. FIS is the only Defendant

who has any contacts with Texas, and its contacts are attenuated at best.

       FIS periodically sells furniture to Bob Mills. That furniture is shipped by a carrier paid for

by Bob Mills to Fort Worth, Texas. However, Bob Mills is based in Oklahoma City, Oklahoma.

In fact, the invoices sent from FIS to Bob Mills are sent to Bob Mills’s corporate office in

Oklahoma City. See Ex. B. The only reason Defendants’ furniture is shipped to Fort Worth, Texas

is because Bob Mills arranged for it be sent there. FIS has not purposely directed its activities

toward Texas or “purposely availed itself of the privileges of conducting activities” in Texas. See

Constenla, S.A., 669 F.3d at 498. Nor has FIS conducted itself in such a way that it should

“reasonably anticipate being haled into court [here].” Stuart, 772 F.2d at 1192. Instead, FIS’s

contacts with Texas result from Bob Mills’s unilateral decision to request delivery of FIS’s




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furniture there. Accordingly, FIS has not established minimum contacts with Texas sufficient to

create specific personal jurisdiction in Texas. See Constenla, S.A., 669 F.3d at 498.

               ii.     There is no nexus between Defendants’ contacts with Texas and
                       Plaintiff’s claims

       Even if Defendants had established minimum contacts with Texas, which they have not,

there is no nexus between Defendants’ contacts with Texas and Plaintiff’s claims. Defendants’

only contacts with Texas are the sale of furniture by FIS to Bob Mills. However, Plaintiff’s claims

have nothing to do with the sale of furniture; they all deal with the misappropriation of trade secrets

and alleged breaches of duties relating thereto which all occurred in Mexico where the furniture

was designed and manufactured. Not one of Plaintiff’s claims revolves around FIS’s sale of

furniture to Bob Mills. Instead, each of Plaintiff’s claims hinges on events that allegedly took place

in Mexico.

       Regarding its claims for misappropriation, Plaintiff’s complaint states, “Specifically,

individual Defendants exploited their access to the Confidential Information, including Canyon’s

Trade Secrets, by secreting it away for their own commercial benefit and purposes.” Dkt. 1-5 at

15 ¶39. Plaintiff’s complaint alleges that Defendant Rodriguez had access to confidential

information through his role as Canyon’s Chief Financial Officer, Dkt. 1-5 at 7 ¶16, and that

Defendant Rueda had access to confidential information through his role as manager of Canyon’s

plant in Tijuana, Mexico, Dkt. 1-5 at 8 ¶17. However, Defendant Rodriguez was never Plaintiff’s

Chief Financial Officer; he was Chief Financial Officer of Canyon Furniture Mexico S.A. de C.V.

(“Canyon Mexico”), a Mexican Corporation. See Ex. A at ¶23. During his time as Canyon

Mexico’s Chief Financial Officer, Defendant Rodriguez lived in Tijuana, Mexico. See id. at ¶15.

Similarly, during his time as manager of Canyon’s plant in Tijuana, Mexico, Defendant Rueda

lived in Chula Vista, California. See id. at ¶14. Neither Defendant Rueda nor Defendant Rodriguez

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has ever lived or worked in Texas. See id. at 5. Thus, assuming Defendants Rueda and Rodriguez

did misappropriate Plaintiff’s trade secrets, which Defendants dispute, they did so in Mexico, not

in Texas. The same is true for Plaintiff’s claims for breach of fiduciary duty, breach of confidential

relationship, and breach of duty of loyalty against Defendants Rueda and Rodriguez. The events

giving rise to all of these claims took place in Mexico. As a practical matter, any confidential

relationships that Defendants Rueda and Rodriguez had with Plaintiff could only have been

breached where Defendants Rueda and Rodriguez lived or worked, in California and in Mexico.

       Plaintiff’s complaint also alleges that Defendants Rueda and Rodriguez used Canyon’s

confidential information to, through their companies FIS and Disenos, manufacture furniture

virtually identical to that sold by Canyon. See Dkt. 1-5 at 9 ¶20. Assuming this is true, which

Defendants dispute, these events too would have taken place in either Mexico or California.

Disenos is a Mexican corporation located in Tijuana, Mexico. See Ex. A at ¶17. Disenos

manufactures all of Defendants’ furniture in Tijuana, Mexico. See id. at ¶29. FIS is a California

corporation based in San Diego, California. See id. at ¶16. Thus, if FIS and/or Disenos illegally

used Canyon’s confidential information to manufacture their own furniture, which Defendants

dispute, they did so in Mexico, not in Texas.

       In sum, the only contact between Texas and any of Defendants is FIS’s sale of furniture to

Bob Mills in Fort Worth, Texas. However, the sale of what Plaintiff refers to as the “Copied

Furniture,” Dkt. 1-5 at 9 ¶20, is irrelevant to Plaintiff’s claims. Plaintiff’s complaint alleges claims

of misappropriation, breach of fiduciary duty, breach of confidential relationship, and breach of

duty of loyalty. If any confidential information was misappropriated by Defendants, it was

misappropriated long before the sale of Defendants’ alleged copied furniture. Assuming

Defendants’ allegedly copied furniture is based on Plaintiff’s confidential information, the



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misappropriation of that information would have taken place prior to the manufacture of that

furniture in Mexico. The confidential information of Plaintiff was located at Montecitos

Manufacturing S. De R.L. De C.V. in Tijuana, Mexico where Plaintiff manufactured its beds. See

Ex. A at ¶20. Defendant Rodriguez was employed by Montecitos in Tijuana, Mexico, and not with

Plaintiff. See id. at ¶23. Thus, the eventual sale of Defendants’ furniture has nothing to do with the

alleged misappropriation of the information they allegedly used to design and make it in the

Desinos plant in Tijuana, Mexico. Similarly, if Defendants Rueda and Rodriguez breached a

fiduciary duty, a confidential relationship, or a duty of loyalty owed to Plaintiff, they did not do so

in Texas. Neither Defendant Rueda nor Defendant Rodriguez has ever worked or lived in Texas.

See id. at 5. Thus, no such duties could possibly have arisen, or been breached, in Texas. For at

least the foregoing reasons, there is no nexus between Plaintiff’s claims and Defendants’ contacts

with the State of Texas.

               iii.    The exercise of jurisdiction over Defendants in Texas would be unfair and
                       unreasonable

       It would be unfair and unreasonable to exercise jurisdiction over Defendants in Texas.

Neither Defendant Rueda nor Defendant Rodriguez have any connection to Texas. Defendant

Rueda lives in Chula Vista, California and Defendant Rodriguez lives in Tijuana, Mexico. See id.

at ¶¶14–15. Similarly, Defendant FIS is a California corporation based in San Diego, California

and Defendant Disenos is a Mexican corporation based in Tijuana, Mexico. See id. at ¶¶16–17.

The only connection any of Defendants have to Texas is Defendant FIS’s sale of furniture to Bob

Mills in Fort Worth, Texas. However, as discussed above, the sale of Defendants’ furniture is

irrelevant to Plaintiff’s claims at issue in this case. In addition, because Plaintiff is a Florida

Corporation, and because none of the events giving rise to Plaintiff’s claims took place in Texas,

neither Plaintiff’s nor Defendants’ witnesses live in Texas or have any connection to Texas.

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Accordingly, it would be unfair and unreasonable for the Court to exercise jurisdiction over

Defendants in Texas.

IV.    CONCLUSION

       For at least the foregoing reasons, Defendants respectfully request the Court dismiss

Plaintiff’s claims for lack of personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2).

       DATED this 30th day of July, 2018.

                                                     Respectfully submitted,



                                                     __________________________
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                                 CERTIFICATE OF SERVICE

       I, the undersigned counsel for the Defendants, do hereby certify that I have this day, July
30, 2018, served a true and correct copy of the above and foregoing pleading by filing in ECF and
by email and by fax to the following:

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